        Case 3:15-cv-03099-FAB Document 172 Filed 02/01/18 Page 1 of 38



                   IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF PUERTO RICO


UBS   FINANCIAL    SERVICES
INCORPORATED OF PUERTO RICO
and UBS TRUST COMPANY OF
PUERTO RICO,

        Plaintiffs,

                   v.                           Civil No. 15-3099 (FAB)

XL SPECIALTY INSURANCE
COMPANY, AXIS REINSURANCE
COMPANY, and HARTFORD FIRE
INSURANCE COMPANY,

        Defendants.


                                OPINION AND ORDER

BESOSA, District Judge.

        Before   the    Court   are   defendants      XL   Specialty   Insurance

Company (“XL”), AXIS Reinsurance Company (“AXIS”), and Hartford

Fire Insurance Company (“Hartford”) (collectively, “insurers” or

“defendants”)’s and plaintiffs UBS Financial Services Incorporated

of Puerto Rico (“UBS PR”) and UBS Trust Company of Puerto Rico

(“UBS    Trust”)   (collectively,       “UBS”    or   “plaintiffs”)’s    cross-

motions for summary judgment filed pursuant to Federal Rule of

Civil Procedure 56 (“Rule 56”).           (Docket Nos. 89, 94, 98.)         For

the reasons set forth below, the Court GRANTS defendants’ motions

(Docket Nos. 89 and 94.)         Accordingly, plaintiffs’ motion (Docket

No. 98) is rendered moot.
      Case 3:15-cv-03099-FAB Document 172 Filed 02/01/18 Page 2 of 38



Civil No. 15-3099 (FAB)                                                       2

I.    Factual Background

      In this breach of contract case, the parties dispute whether

certain claims are covered by their insurance policies.              The Court

provides facts underlying the various matters in controversy to

ascertain the scope of the policies.              The following facts are

deemed admitted by both parties pursuant to Local Rule 56.                 Loc.

Rule 56(e); P.R. Am. Ins. Co. v. Rivera-Vazquez, 603 F.3d 125,

130-31 (1st Cir. 2010). 1

      A.     UBS and the Funds

             UBS Trust is a trust company organized pursuant to the

laws of the Commonwealth of Puerto Rico.          (Docket No. 37 at p. 2.)

UBS Asset Managers, a division of UBS Trust, manages fourteen

closed-end funds and co-manages nine additional closed-end funds

with Banco Popular (collectively, “funds”).           (Docket No. 89, Ex. 1

at p. 19.)     UBS Asset Managers is also an investment adviser for

the funds.    Id. at pp. 28-29.


1 Local Rule 56 governs the factual assertions made by both parties in the

context of summary judgment. Loc. Rule 56; Hernandez v. Philip Morris USA,
Inc., 486 F.3d 1, 7 (1st Cir. 2007). The Rule “relieve[s] the district court
of any responsibility to ferret through the record to discern whether any
material fact is genuinely in dispute.” CMI Capital Market Inv. v. Gonzalez-
Toro, 520 F.3d 58, 62 (1st Cir. 2008). The movant must submit factual assertions
in “a separate, short, and concise statement of material facts, set forth in
numbered paragraphs.” Loc. Rule 56(b). The nonmovant must “admit, deny, or
qualify the facts supporting the motion for summary judgment by reference to
each numbered paragraph of the moving party’s statement of facts.” Loc. Rule
56(c). The movant may reply and admit, deny, or qualify the opponent’s newly-
stated facts in a separate statement and by reference to each numbered
paragraph.   Loc. Rule 56(d).     Facts which are properly supported “shall be
deemed admitted unless properly controverted.” Loc. Rule 56(e); P.R. Am. Ins.
Co., 603 F.3d 125, 130 (1st Cir. 2010).
        Case 3:15-cv-03099-FAB Document 172 Filed 02/01/18 Page 3 of 38



Civil No. 15-3099 (FAB)                                                                     3

               UBS    PR    is    a    subsidiary     of    UBS    Financial      Services

Incorporated (“UBS Parent”).                  (Docket No. 89, Ex. 3 at p. 18.)

UBS PR is a licensed broker-dealer registered with the United

States Securities and Exchange Commission (“SEC”) and was an

underwriter for the funds, as well as for bonds issued by various

Puerto Rico government entities (“PR bonds”).                           (Docket No. 89,

Ex. 1 at pp. 19-21, 25.)                UBS PR sold shares of the funds to its

brokerage customers.              Id. at p. 20.

       B.      The Prior Matters

               From 2009 through 2012, UBS was the subject of several

civil       and      regulatory         proceedings         concerning         the      funds

(collectively, “prior matters”).

               1.     2009 SEC Investigation and 2012 SEC Order

                      In August 2009, the SEC ordered an investigation of

UBS    PR   to      determine       whether    UBS    PR    violated         United    States

securities laws (“2009 SEC investigation”).                             (Docket No. 89,

Ex. 5.)       On May 1, 2012, UBS PR settled with the SEC pursuant to

an     Order        Instituting         Administrative           and    Cease-and-Desist

Proceedings (“2012 SEC order”).                     (Docket No. 89, Ex. 13.)             The

2012    SEC    order       stated     that    UBS    PR    misrepresented        the    risks

associated          with    the       funds   to     customers         “seeking       stable,

consistently-priced              securities.”        Id.    at    p.    4.      While    “any

secondary market sales [that] investors wanted to make depended
      Case 3:15-cv-03099-FAB Document 172 Filed 02/01/18 Page 4 of 38



Civil No. 15-3099 (FAB)                                                             4

largely on UBS PR’s ability to solicit additional customers or

willingness to purchase shares into its inventory,” UBS PR failed

to inform investors that it “controlled the secondary market.”

Id. at p. 2.

                     The 2012 SEC order asserted that UBS PR

            knew investor demand [in the funds] was
            significantly declining relative to supply.
            For much of 2008, UBS PR purchased millions of
            dollars of [fund] shares into its own
            inventory while promoting the appearance of a
            liquid market with stable prices, without
            disclosing UBS PR’s actions were propping up
            prices and liquidity.

Id.   at   p.   2.      In     sum,    the    order   maintained      that   UBS   PR

misrepresented market forces by unilaterally setting prices at

artificial levels and purchasing fund shares to disguise the lack

of demand.      Id. at pp. 4-6.

                     The 2012 SEC order also stated that in the spring

of 2009, UBS Parent “directed UBS PR to substantially reduce its

inventory of [fund] shares.”             Id. at p. 2.         “To accomplish the

reduction, UBS PR . . . executed a plan . . . in which UBS PR

routinely    offered     and    sold    its   [fund]    shares   at    prices   that

undercut pending customer sell orders.”                Id.   “During this period,

numerous UBS PR customers were also attempting to sell their

holdings    but   UBS    PR’s    actions      effectively     prevented      certain

customers from selling their [fund] shares.”                     Id.     Moreover,
      Case 3:15-cv-03099-FAB Document 172 Filed 02/01/18 Page 5 of 38



Civil No. 15-3099 (FAB)                                                    5

despite its own concerns about the funds, UBS PR persisted to

“generate customer demand” for fund shares through promotions.

Id. at p. 5.    Pursuant to the 2012 SEC order, UBS PR agreed to pay

a total of $26,609,739.90 to settle the investigation.              (Docket

No. 89, Ex. 13 at p. 12.) 2

           2.    Union Litigation

                 In February 2010, investors commenced an action

against UBS in this Court, filing derivatively on behalf of four

funds and directly as a putative class of fund investors. Verified

Shareholder Derivative Action and Class Action Complaint, Union de

Empleados de Muelles de Puerto Rico PRSSA Welfare Plan v. UBS Fin.

Servs. Inc. of Puerto Rico, No. 10-1141 (ADC) (D.P.R. March 31,

2011) (Docket No. 1.)     The investors alleged that UBS “manipulated

the Funds and the bond market to the detriment of the Funds and

its   unsuspecting   investors”    by   holding   conflicting    roles   “as

investment advisor, bond underwriter, and mutual fund manager” in

the transactions.      Id. at p. 3.     The investors claimed that UBS

made “material misstatements and fraudulent omissions concerning

the nature, purpose, and suitability of the purchases of the [PR]

Bonds for the Funds,” saturating the funds with “[o]ver $750

million in purchases of the near-junk [PR] Bonds.”           Id. at pp. 4-


2 Specifically, UBS PR agreed to pay disgorgement of $11,500,000, prejudgment
interest of $1,109,739.94, and a civil money penalty of $14,000,000. (Docket
No. 89, Ex. 13 at p. 12.)
       Case 3:15-cv-03099-FAB Document 172 Filed 02/01/18 Page 6 of 38



Civil No. 15-3099 (FAB)                                                          6

5.     Additionally,       the    investors    specified   that      UBS   withheld

material facts, including “that demand for the [PR] Bonds was

falsely created by UBS Trust’s massive purchases of the [PR] Bonds

for the Funds” and “that the stated asset values published for the

Funds were overstated, in large part due to the overvaluation of

the [PR] Bonds.”         Id. at p. 22.

                    According to the investors, UBS “used the Funds as

a    dumping    ground    for    the   toxic   [PR]   bonds”   and   “exacerbated

[losses] for the Funds’ investors as a result of the illiquidity

of the market for the Funds, which is in large part controlled by

[UBS], and by the fact that the Funds are highly leveraged.”                   Id.

at pp. 5-6, 21.          The investors claimed that UBS “controlled the

buyers and the sellers (and collected fees from both of them)” and

“deceiv[ed] investors as to how other market participants have

valued a security, thereby sending false signals to the market.”

Id. at pp. 23-24.

       C.      The Policies

               In 2011, UBS approached the defendants through a broker

after having a coverage dispute with its insurance provider.
      Case 3:15-cv-03099-FAB Document 172 Filed 02/01/18 Page 7 of 38



Civil No. 15-3099 (FAB)                                                      7

(Docket No. 89, Ex. 22 at p. 34.) 3          XL was generally aware that

UBS was looking for a new provider due to the coverage dispute.

Id. at p. 34.    XL was also aware of the 2009 SEC investigation and

the Union action.      Id. at pp. 85-86, 165-66.       XL responded to UBS

with a price quote conditioned on UBS’s acceptance of an attached

specific litigation exclusion.          (Docket No. 89, Ex. 28.)           The

exclusion was expansive, precluding coverage for

            any Claim in connection with any proceeding
            set forth below, or in connection with any
            Claim based on, arising out of, directly or
            indirectly resulting from, in consequence of,
            or in any way involving any such proceeding or
            any fact, circumstance or situation underlying
            or alleged therein:

                  . . . .

                 Union de Empleados de Muelles de Puerto
            Rico PRSSA Welfare Plan, et al. v. UBS
            Financial Services Incorporated of Puerto
            Rico, et al., Case No. 10-1141, U.S. District
            Court, District of Puerto Rico.

                 The investigation by the Securities and
            Exchange Commission captioned “in the Matter
            of UBS (Certain Puerto Rico Bonds and Funds)”
            SEC File No F-3491.




3 Before purchasing liability insurance from the defendants, UBS was insured by
ACE Insurance Company of Puerto Rico (“ACE”). (Docket No. 89, Ex. 21 at p. 1.)
ACE provided UBS with a management liability insurance policy to insure claims
against the directors and officers of the funds. Id. In January 2012, UBS
resolved a coverage dispute with ACE for $7 million.      Id. at p. 2; Docket
No. 89, Ex. 20 at p. 37. Through a settlement agreement, UBS relinquished the
coverage otherwise afforded by ACE for the prior matters and any claim related
to the prior matters. (Docket No. 89, Ex. 21 at pp. 2-3.)
      Case 3:15-cv-03099-FAB Document 172 Filed 02/01/18 Page 8 of 38



Civil No. 15-3099 (FAB)                                                      8

(Docket No. 89, Ex. 23 at p. 30.)          This exclusion was a “core part”

of XL’s insurance offer.            (Docket No. 89, Ex. 22 at p. 89.)      See

also id. at pp. 72-73, 79-81, 85-97, 123-26, 138-45.                While UBS

requested to change the language and narrow the provision, XL

refused.   (Docket No. 89, Ex. 49 at p. 1.)             UBS agreed to proceed.

Id.

                      UBS ultimately purchased liability coverage from

XL, AXIS, and Hartford for the period of January 15, 2012 through

January 15, 2014 (“policy period”).              (Docket No. 89, Ex. 22 at

pp. 32-33; Docket No. 89, Ex. 23 at p. 2.) 4            XL issued the primary

$10 million policy, AXIS issued a $5 million first excess policy,

and   Hartford         issued   a    $5   million   second     excess   policy

(collectively, “policies”).            (Docket No. 89, Exs. 23-25.)        The

policies generally share the same terms and conditions, including

the specific litigation exclusion.               (Docket No. 89, Ex. 20 at

p. 29; Docket No. 89, Ex. 24 at p. 3; Docket No. 89, Ex. 25 at

p. 6.)

            1.        Terms and Conditions

                      The policies articulate various provisions limiting

the   scope      of    coverage,     including    the    specific   litigation

exclusion. See, e.g., Docket No. 89, Ex. 23 at p. 30. The policies


4 The policy period was comprised of two distinct periods, each for one year:
January 15, 2012 to January 15, 2013 and January 15, 2013 to January 15, 2014.
(Docket No. 89, Ex. 22 at pp. 32-33; Docket No. 89, Ex. 23 at p. 2.)
       Case 3:15-cv-03099-FAB Document 172 Filed 02/01/18 Page 9 of 38



Civil No. 15-3099 (FAB)                                                             9

also set forth definitions to eliminate ambiguity.                       See Docket

No. 89, Ex. 23.        As an overview, the policies provide “claims made

coverage” for “Insureds [sic] Loss resulting from Claims first

made against the Insureds during the Policy Period . . . for

Wrongful Acts.”        (Docket No. 89, Ex. 23 at p. 20.)                A “Claim” is

“(1) any written notice received by an Insured that any person or

entity intends to hold any Insured responsible for a Wrongful Act;

(2)    any   civil     proceeding    in   a   court    of    law   or    equity,   or

arbitration; or (3) any criminal proceeding which is commenced by

the return of an indictment.”             Id. at p. 14.        A “Claim” is also

“any    formal,      civil,   criminal,       administrative,      or     regulatory

investigation of an Insured” or “service of a subpoena upon an

Insured in connection with a regulatory investigation of any

Insured.”     Id. at p. 35.          Additionally, “Wrongful Act” is “any

actual or alleged act, error, omission, misstatement, misleading

statement or breach of fiduciary duty or other duty committed by

any    Insured    in    the   performance      of,    or    failure     to   perform,

Professional Services.”          Id. at p. 20.         “Professional Services”

means, in relevant part, “financial, economic or investment advice

given or investment management services performed for others for

a fee or commission by the Adviser or on behalf of the Adviser by

any person or entity.”         Id.
        Case 3:15-cv-03099-FAB Document 172 Filed 02/01/18 Page 10 of 38



Civil No. 15-3099 (FAB)                                                           10

                        The   policies     also    contain   a   notice   of   claim

endorsement.        (Docket No. 89, Ex. 23 at p. 41.)             Pursuant to the

notice endorsement, “[a]s a condition precedent to any right to

payment under this Policy, the Insured shall give written notice

to the Insurer of any Claim as soon as practicable after it is

first made and the Risk Manager or General Counsel of the Insured

first becomes aware of such Claim, but in no event later than

ninety (90) days after the expiration of the Policy Period.”                     Id.

at p. 41.        Moreover, the policies include an interrelated claims

provision that stipulates, “All Claims arising from Interrelated

Wrongful Acts shall be deemed to constitute a single Claim and

shall be deemed to have been made at the same time at which the

earliest such Claim is made.”                     Id. at p. 17.      “Interrelated

Wrongful Acts” are “Wrongful Acts which are based on, arising out

of, directly or indirectly resulting from, in consequence of, or

in any way involving any of the same or related series of related

facts, circumstances, situations, transactions or events.”                     Id. at

p. 14.

     D.         The Disputed Matters

                Since the beginning of the policy period on January 15,

2012,     UBS     has     litigated      two   civil   actions,    two    regulatory

investigations, and hundreds of Financial Institutions Regulatory
        Case 3:15-cv-03099-FAB Document 172 Filed 02/01/18 Page 11 of 38



Civil No. 15-3099 (FAB)                                                               11

Association         (“FINRA”)      arbitrations         (collectively,       “disputed

matters”).

             1.      Casasnovas Litigation

                     In February 2014, shareholders in certain funds

filed a derivative lawsuit against UBS in the Puerto Rico Court of

First     Instance,        San     Juan    Superior         Division.       Complaint,

Casasnovas-Balado v. UBS Fin. Servs., Inc., No. 2014-0072, 2015 WL

5179147 (P.R. Cir. Feb. 5, 2014) (Docket No. 1.)                     The shareholders

claimed     that     UBS   “mismanaged       the      UBS   Funds”   and   “for    years

concealed from Plaintiffs and the general public their gross

conflicts      of    interests.”          Id.    at    p.   6.    According    to   the

shareholders, UBS

             used the UBS Funds as a dumping ground for the
             PR Bonds they underwrote, thus creating a
             ready-made, captive market for that debt. In
             so doing, they improperly concentrated the
             assets of the Funds in PR Bonds that they
             themselves issued, rather than diversifying
             the Funds’ assets across other debt and equity
             instruments.

Id. at p. 3.

                    The shareholders claimed that UBS also “engaged in

a massive ultra vires scheme to manipulate the price for shares of

the UBS Funds by discouraging investors from selling out of the

UBS   Funds,      steering       investors      instead     to   borrow    money   which

investors then used to purchase shares in the UBS Funds with loans
       Case 3:15-cv-03099-FAB Document 172 Filed 02/01/18 Page 12 of 38



Civil No. 15-3099 (FAB)                                                        12

collateralized by shares of those very same Funds.”               Id. at p. 4.

This “Illicit Loan Scheme: (i) artificially increased the demand,

alleged market value, and liquidity of shares of the UBS Funds”

and “(ii) increased investors’ market and credit risks associated

with investors’ leveraged investments in shares of UBS Funds.”

Id. at p. 23.       The shareholders asserted that investors are now

“trapped due to the illiquidity of the market created by the UBS

Defendants and the illegal margin loans they were encouraged to

take out by the UBS Defendants.”           Id. at p. 5.

            2.    Fernandez Litigation

                  In May 2014, fund investors filed a putative class

action lawsuit against UBS in the United States District Court for

the Southern District of New York.            Complaint, Fernandez v. UBS

AG, No. 14-3252 (S.D.N.Y. May 5, 2014) (Docket No. 2.)                    In May

2015, the investors filed their first amended complaint.                 Amended

Class Action Complaint, Fernandez, 222 F. Supp. 3d 358 (S.D.N.Y.

May 8, 2015) (Docket No. 68.)           The investors alleged that UBS

“steered Class members, many of whom are older individuals focused

on generating income for retirement, to invest in the Funds, which

were   high-risk,    volatile    investments      that    ultimately     crashed,

losing Class members vast sums of money.”                 Id. at p. 1.      They

claimed that     while   UBS    depicted    the   funds    as   “safe,   secure”

securities, the “Funds were investments that posed serious risks”
      Case 3:15-cv-03099-FAB Document 172 Filed 02/01/18 Page 13 of 38



Civil No. 15-3099 (FAB)                                                   13

because they were “highly leveraged” and “invested in hundreds of

millions of dollars of debt securities issued by the Puerto Rico

government, which . . . were especially risky.”          Id. at p. 2.

                 The investors asserted that UBS “acknowledged the

riskiness of the Funds by secretly unloading a substantial portion

of its own inventory of shares in the Funds on UBS’s own clients.”

Id. at p. 26.    They maintained that UBS Parent ordered UBS PR “to

reduce the inventory of Fund shares that UBS owned,” and UBS PR

“sold 75% of its Fund share inventory to UBS clients” as a result.

Id.

                 The investors continued that UBS engaged in “self-

dealing   transactions”     by   assuming    “conflicting     roles”     and

simultaneously “underwriting various municipal and other Puerto

Rico bond offerings;” “selling the securities . . . into the

Funds;” and “act[ing] as advisors to, and managers of, the Funds.”

Id. at pp. 27-29.      The investors also claimed that UBS “adopted

policies to incentivize and pressure [its] employees to push Class

members to invest in the high-risk Funds,” and “[e]ven when clients

were already invested in the Funds, [UBS] pursued strategies to

capture additional lucrative commissions on Fund shares.”            Id. at

pp. 30 & 38.    For example, UBS employed an “improper loan scheme

by extending ‘non-purpose’ loans and lines of credit to Class

members in order to increase investments in the Funds on margin—
        Case 3:15-cv-03099-FAB Document 172 Filed 02/01/18 Page 14 of 38



Civil No. 15-3099 (FAB)                                                    14

thereby reaping even more inflated commissions on both the Funds

and the loans while increasing Class members’ exposure to risk.”

Id. at p. 5.

                   In June 2015, UBS moved to dismiss the Fernandez

amended complaint.        Memorandum of Law of the UBS Defendants in

Support of Their Motion to Dismiss, Fernandez, 222 F. Supp. 3d 358

(S.D.N.Y. June 18, 2015) (Docket No. 91.)             In support of their

motion, UBS characterized the 2012 SEC order and the Union lawsuit

as, respectively, “regarding the same alleged misconduct” and

“making similar allegations” to the Fernandez amended complaint.

Id. at pp. 15-17.       UBS asserted that “notably, the Complaint here

mimics allegations in [the Union] suit . . . sometimes word for

word.”     Id. at p. 17 (internal citations omitted).

                   In December 2016, the district court granted in

part and denied in part UBS’s motion to dismiss.             Fernandez, 222

F. Supp. 3d 358, 364 (S.D.N.Y. Dec. 7, 2016).              The court found

that “[t]he publicized lawsuits and administrative proceedings .

. . [were] sufficient . . . to find that UBS investors had

constructive notice and knowledge of their tort claims against

UBS.”    Id. at 383.    While the court acknowledged that sufficiently

publicized lawsuits need only bring “allegations that are similar

to some of the key allegations in the instant complaint” to trigger

inquiry notice, the court ruled that “[h]ere, published reports of
      Case 3:15-cv-03099-FAB Document 172 Filed 02/01/18 Page 15 of 38



Civil No. 15-3099 (FAB)                                                   15

legal proceedings and the proceedings themselves put plaintiffs on

notice of their exact allegations against the UBS Defendants.”

Id. (emphasis added) (internal quotation marks omitted).

           3.    2013 SEC Investigation and 2015 SEC Order

                 In October 2013, the SEC issued an order directing

the private investigation of UBS PR (“2013 SEC investigation”).

(Docket No. 89, Ex. 36.)        The 2013 SEC investigation explicitly

mentioned the 2012 SEC order and asserted that UBS PR

           may have been or may be, among other things,
           making false statements of material fact or
           failing   to  disclose   material  facts   to
           customers concerning, among other things, the
           risks or suitability of investing in mutual
           funds or [PR bonds] using margin, loans,
           provided by [a] UBS [affiliate], repurchase
           agreements or other means of credit.

Id. at pp. 1-2.         On September 29, 2015, UBS PR resolved the

investigation by consenting to an Order Instituting Administrative

Proceedings, in which UBS PR agreed to pay a total of $15,000,000

to the SEC (“2015 SEC order”).       (Docket No. 89, Ex. 37.) 5

                 According to the 2015 SEC order, from 2011 through

2013, a UBS PR representative “effected a scheme that resulted in

an increase to his compensation by soliciting certain customers to

use   proceeds   from   [non-purpose    lines   of   credit]   to   purchase



5 Specifically, UBS agreed to pay disgorgement of $1,188,149.41, prejudgment

interest of $174,196.97, and a civil money penalty of $13,637,653.62. (Docket
No. 89, Ex. 37.)
       Case 3:15-cv-03099-FAB Document 172 Filed 02/01/18 Page 16 of 38



Civil No. 15-3099 (FAB)                                                          16

additional       shares    in   UBS    PR   [funds].”     Id.    at   p.   2.   The

representative “offered and sold millions of dollars of [funds] to

certain customers while soliciting them to use [non-purpose lines

of     credit]     to     purchase      such    securities      and   fraudulently

misrepresenting the risks of this strategy to them.”                  Id. at p. 3.

The representative also “made material misrepresentations to these

customers regarding the safety of this strategy” and “exposed

customers—some of whom were listed . . . as being ‘conservative’

with regard to risk tolerance—to a greater risk than they otherwise

would have been exposed.”             Id. at pp. 2 & 4.      Although UBS PR “was

responsible for supervising” the representative, UBS PR failed to

supervise the representative reasonably and establish or implement

reasonable procedures to prevent the representative’s conduct,

misstatements, and omissions.               Id. at pp. 2 & 6.

            4.      2015 FINRA Settlement

                    In February 2014, FINRA’s Enforcement Department

notified UBS PR that it was under investigation (“2014 FINRA

investigation”).          (Docket No. 89, Ex. 38.)      On September 15, 2015,

UBS PR submitted a Letter of Acceptance, Waiver and Consent to

settle with FINRA (“2015 FINRA settlement letter”).                         (Docket

No. 89, Ex. 40 at p. 6.)          The 2015 FINRA settlement letter stated

that
        Case 3:15-cv-03099-FAB Document 172 Filed 02/01/18 Page 17 of 38



Civil No. 15-3099 (FAB)                                                         17

              from January 1, 2009 through July 31, 2013 .
              . . [UBS PR] failed to establish and maintain
              a supervisory system and procedures reasonably
              designed   to   ensure   the   suitability   of
              transactions     in    [funds]    in    certain
              circumstances. Specifically, [UBS PR] failed
              to monitor the combination of leverage and
              concentration levels in customer accounts to
              ensure that certain customers’ transactions
              were suitable in light of the customers’ risk
              objectives and profile.

Id. at p. 2.         As “relevant disciplinary history,” the settlement

letter discussed the misconduct set forth in the 2012 SEC order.

Id.

                     According      to    the   settlement     letter,   “UBS   PR

customer accounts were typically highly concentrated in [fund]

shares.      Highly concentrated customers bore increased risk,” which

“was exacerbated by the fact that the [funds] were internally

leveraged.”     Id. at p. 3.     UBS PR also “solicited certain customers

to    open   lines    of   credit    []    offered   by   a   UBS   affiliate   and

collateralized by the customers’ securities accounts.”                     Id. at

p. 3.     The settlement letter asserted that “many customers who

needed to liquidate securities . . . . sold their [funds] into an

illiquid market at significant losses.”              Id. at p. 6.     Pursuant to

the settlement letter, UBS agreed to pay a total of $18,478,402.

(Docket No. 89, Ex. 40 at p. 6.) 6



6 UBS agreed to pay a fine in the amount of $7,500,000 and restitution in the
amount of $10,978,402. (Docket No. 89, Ex. 40 at p. 6.)
      Case 3:15-cv-03099-FAB Document 172 Filed 02/01/18 Page 18 of 38



Civil No. 15-3099 (FAB)                                                   18

           5.     FINRA Arbitrations

                  UBS     notified    XL    of   55    FINRA    arbitrations

(collectively, “noticed FINRA arbitrations”) and was served with

approximately      1,150     additional      proceedings       (collectively,

“additional FINRA proceedings”). 7         (Docket No. 37 at pp. 4-5.)    In

the noticed FINRA arbitrations, fund investors alleged that the

funds were unsuitable investments.           See Docket No. 90, Exs. 13,

15-17, 22, 37-40, 49; Docket No. 91, Exs. 12-14, 24.             Namely, the

investors claimed that their investments were overconcentrated in

highly leveraged, illiquid fund shares of high-risk PR bonds.            See

id.   They asserted that UBS exposed investors to undue risk by

controlling the secondary market for the funds and misled investors

by artificially increasing demand and creating the appearance of

liquidity.      See id.    Many of the claimants referred to the 2012

SEC order.    See Docket No. 90, Exs. 13, 15-16, 22, 40, 49; Docket

No. 91, Exs. 12-14, 24.        According to UBS, the claimants in the

additional      FINRA   proceedings    “asserted      claims   substantively

similar or identical to those asserted in the [noticed FINRA

arbitrations].”     (Docket No. 37 at p. 5.)


7 The parties use 84 FINRA arbitrations as a sample set for this litigation.
Docket No. 87 at p. 1; see also Docket No. 90, Exs. 2-51; Docket No. 91, Exs.
1-34. The Court’s discussion of the noticed FINRA arbitrations and additional
FINRA proceedings is limited to the arbitrations provided in the sample set.
The sample set contains 14 noticed FINRA arbitrations and 70 additional FINRA
proceedings. See Docket No. 89, Ex. 1 at pp. 41-42; Docket No. 90, Exs. 13,
15-17, 22, 37-40, 49; Docket No. 91, Exs. 12-14, 24.
        Case 3:15-cv-03099-FAB Document 172 Filed 02/01/18 Page 19 of 38



Civil No. 15-3099 (FAB)                                                         19

     E.      Coverage Communications

             In October 2013, UBS Parent notified XL that it expected

UBS PR to be the subject of litigation and FINRA arbitrations

involving       allegations       that   “customers         were        unsuitably

overconcentrated      in   [the   funds];   that   UBS     and    its   Financial

Advisors     made   unsuitable     recommendations       that    customers    use

leverage to purchase [the funds] or use [the funds] as collateral

for credit lines; and that UBS and its Financial Advisors made

misrepresentations regarding the risks associated with investing

in [the funds].”       (Docket No. 89, Ex. 42 at p. 11.)

             On December 2, 2013, XL denied coverage to UBS PR for

the anticipated litigation and arbitrations.                    (Docket No. 98,

Ex. 23 at p. 3.)        Citing the specific litigation exclusion, XL

maintained that “it appears that this Claim is based on, arises

out of, directly or indirectly results from, is in consequence of,

or otherwise involves the SEC and/or FINRA proceedings listed [in

the Specific Litigation Exclusion], or the facts, circumstances or

situations underlying or alleged therein.”           Id.    XL concluded that

“no coverage is available under this Policy at this time.”                  Id. at

p. 4.

             On December 13, 2013, UBS Parent informed XL that UBS

had been served with 23 FINRA arbitrations, noting that it had

previously provided XL with proper notice in October and that it
        Case 3:15-cv-03099-FAB Document 172 Filed 02/01/18 Page 20 of 38



Civil No. 15-3099 (FAB)                                                         20

anticipated more arbitrations with similar allegations, as well as

a subpoena from the SEC.          (Docket No. 89, Ex. 42 at pp. 1-3.)          UBS

Parent notified XL of another 32 FINRA arbitrations, in addition

to the SEC subpoena, on January 24, 2014.              (Docket No. 89, Ex. 43

at pp. 2-5.)          UBS Parent again indicated its anticipation of

additional subpoenas and similar arbitrations, id. at p. 5, and on

February     14,   2014,   UBS    Parent    notified   XL    of   the   Casasnovas

lawsuit.     (Docket No. 89, Ex. 44.)

             In March 2014, XL denied coverage to UBS PR for the FINRA

arbitrations, 2013 SEC investigation, and Casasnovas litigation.

(Docket No. 98, Ex. 24.) XL explained that the specific litigation

exclusion precluded UBS from coverage for these claims.                     Id. at

p. 5.     AXIS sent UBS a similar denial of coverage for the FINRA

arbitrations, 2013 SEC investigation, and Casasnovas action in May

2014.     (Docket No. 98, Ex. 27.)

             On May 14, 2014, UBS Parent informed XL of the Fernandez

action.      (Docket No. 89, Ex. 45.)           Later that month, XL and AXIS

each denied UBS’s request for coverage pursuant to the specific

litigation exclusion.            (Docket No. 98, Ex. 25 at p. 4; Docket

No. 98, Ex. 26; Docket No. 98, Ex. 28.)              UBS did not notify XL of

the   2014    FINRA    investigation       or   additional   FINRA      proceedings

before filing this case.          (Docket No. 89, Ex. 1 at p. 46.)
       Case 3:15-cv-03099-FAB Document 172 Filed 02/01/18 Page 21 of 38



Civil No. 15-3099 (FAB)                                                        21

II.    Procedural History

       UBS filed this breach of contract suit against the insurers

on December 18, 2015.            (Docket No. 1.)    Both parties moved for

summary judgment on July 28, 2017.           (Docket Nos. 89 & 98.)

III. Jurisdiction

       The Court has jurisdiction over this civil action pursuant to

28    U.S.C.    section     1332(a)(1)   because   the   dispute     is   between

citizens of different states and the matter in controversy exceeds

$75,000, exclusive of interest and costs. See 28 U.S.C. § 1332(a).

IV.    Discussion

       A.      Standard of Review

               A court will grant summary judgment if “there is no

genuine dispute as to any material fact and the movant is entitled

to judgment as a matter of law.”              Fed. R. Civ. P. 56(a).          “A

dispute is genuine if the evidence about the fact is such that a

reasonable jury could resolve the point in the favor of the non-

moving party.         A fact is material if it has the potential of

determining the outcome of the litigation.”              Dunn v. Trs. of Bos.

Univ., 761 F.3d 63, 68 (1st Cir. 2014) (internal citation omitted).

               The   role   of    summary   judgment     is   to    “pierce   the

boilerplate of the pleadings and assay the parties’ proof in order

to determine whether trial is actually required.”                  Tobin v. Fed.

Exp. Corp., 775 F.3d 448, 450 (1st Cir. 2014) (internal citation
        Case 3:15-cv-03099-FAB Document 172 Filed 02/01/18 Page 22 of 38



Civil No. 15-3099 (FAB)                                                     22

omitted).      The party moving for summary judgment has the initial

burden of “demonstrat[ing] the absence of a genuine issue of

material fact” with definite and competent evidence. Celotex Corp.

v. Catrett, 477 U.S. 317, 323 (1986); Maldonado-Denis v. Castillo-

Rodriguez, 23 F.3d 576, 581 (1st Cir. 1994).               The movant must

identify “portions of ‘the pleadings, depositions, answers to

interrogatories,       and   admissions    on   file,   together   with    the

affidavits, if any’” which support its motion.            Celotex, 477 U.S.

at 323 (citing Fed. R. Civ. P. 56(c)).

             Once a properly supported motion has been presented, the

burden shifts to the nonmovant “to demonstrate that a trier of

fact reasonably could find in [its] favor.”              Santiago-Ramos v.

Centennial P.R. Wireless Corp., 217 F.3d 46, 52 (1st Cir. 2000)

(internal citation omitted).          “When the nonmovant bears the burden

of proof on a particular issue, [he or] she [or it] can thwart

summary judgment only by identifying competent evidence in the

record sufficient to create a jury question.”            Tobin, 775 F.3d at

450-51.     A court draws all reasonable inferences from the record

in the light most favorable to the nonmovant, but it disregards

unsupported and conclusory allegations.           McGrath v. Tavares, 757

F.3d 20, 25 (1st Cir. 2014).

             When parties file cross-motions for summary judgment, a

court     must   “consider     each    motion   separately,    drawing     all
      Case 3:15-cv-03099-FAB Document 172 Filed 02/01/18 Page 23 of 38



Civil No. 15-3099 (FAB)                                                   23

inferences in favor of each non-moving party in turn.”           AJC Int’l,

Inc. v. Triple-S Propiedad, 790 F.3d 1, 3 (1st Cir. 2015) (quoting

D & H Therapy Assocs., LLC v. Bos. Mut. Life Ins. Co., 640 F.3d

27, 34 (1st Cir. 2011).         “Cross-motions for summary judgment do

not   alter    the   summary   judgment   standard,   but   instead   simply

‘require [the Court] to determine whether either of the parties

deserves judgment as a matter of law on the facts that are not

disputed.’”      Wells Real Estate Inv. Tr. II, Inc. v. Chardon/Hato

Rey P’ship, 615 F.3d 45, 51 (1st Cir. 2010) (quoting Adria Int’l

Grp., Inc. v. Ferré Dev., Inc., 241 F.3d 103, 107 (1st Cir. 2001)).

      B.      Applicable Law

              The Court applies Puerto Rico insurance law to this

diversity suit.      See AJC Int’l, 790 F.3d at 3-4.        The Puerto Rico

Insurance Code requires that “[e]very insurance contract [] be

construed according to the entirety of its terms and conditions as

set forth in the policy, and as amplified, extended, or modified

by any lawful rider, endorsement, or application attached to and

made a part of the policy.”         Id. at 4 (alteration in original)

(citing P.R. Laws Ann., tit 26, § 101).               Insurance contracts

“should be generally understood within their most common and usual

meaning,” and “[t]he insured who acquires a policy is entitled to

rely on the coverage offered to him when reading its clauses in

the light of the popular words used therein.”         AJC Int’l, 790 F.3d
      Case 3:15-cv-03099-FAB Document 172 Filed 02/01/18 Page 24 of 38



Civil No. 15-3099 (FAB)                                                   24

at 4 (quoting Pagán-Caraballo v. Silva-Delgado, 22 P.R. Offic.

Trans. 96, 101 (1998)).       Additionally, “exclusionary clauses are

not favored, [and] should be strictly construed and in such a way

that the policy’s purpose of protecting the insured is met.”             Id.

(alteration in original) (quoting Pagán-Caraballo, 22 P.R. Offic.

Trans. at 101) (alterations in original).

            Puerto Rico law does not, however, “compel constructions

in favor of the insured when a clause favors the insurer, and its

meaning and scope is [sic] clear and unambiguous.”         AJC Int’l, 790

F.3d at 4 (alteration in original) (quoting Quiñones-López v.

Manzano-Pozas, 141 P.R. Dec. 139, 155 (1996)).         “In such cases, it

[i.e., the unambiguous clause] should be held as binding on the

insured.”    Id. (alteration in original) (quoting Quiñones-López,

141 P.R. Dec. at 155).    “If the wording of the contract is explicit

and its language is clear, its terms and conditions are binding on

the parties.”    Nieves v. Intercontinental Life Ins. Co. of P.R.,

964 F.2d 60, 63 (1st Cir. 1992).

      C.    Defendants’ Motion for Summary Judgment

            The insurers argue that UBS presents no genuine issue of

material fact because the policies’ interrelated claims provision

and   specific   litigation    exclusion   preclude    coverage   for    the

disputed matters.    (Docket No. 89 at p. 14.)      Namely, the insurers

contend that the disputed matters “‘directly or indirectly result
     Case 3:15-cv-03099-FAB Document 172 Filed 02/01/18 Page 25 of 38



Civil No. 15-3099 (FAB)                                                    25

from’ or ‘in any way involve’ ‘any fact, circumstance or situation’

alleged in or underlying the Prior Matters” and “‘directly or

indirectly result from’ or ‘in any way involve’ ‘the same or

related or series of related facts, circumstances, situations,

transactions or events’ as the Prior Matters.”          Id. (quoting the

policies).    According to the insurers, the disputed matters “need

only in any way involve any fact, circumstance or situation” of

the prior matters to be barred from coverage.              Id. at p. 15

(alteration in original).

            The insurers state that the disputed matters involve

identical    facts,   circumstances,   and   situations    as   the     prior

matters.    See id. at p. 14.    They assert that the disputed matters

“are rooted in, among other things, alleged conflicts of interest

because UBS . . . . allegedly manipulated the market for the Funds

for its own benefit and the detriment of Puerto Rico investors,

propping up the market for the Funds by convincing its unwitting

customers to purchase shares of the Funds.”        Id. at p. 17.

            The insurers emphasize that the connection between the

prior and disputed matters “goes well beyond what the Policies

require because they share specific factual commonalities and

allegations.”      Id.    Such   “directly   overlapping    allegations”

include claims that:     “UBS suffered from conflicts of interest;”

“UBS PR used the Funds as a ‘dumping ground’ for risky PR bonds to
      Case 3:15-cv-03099-FAB Document 172 Filed 02/01/18 Page 26 of 38



Civil No. 15-3099 (FAB)                                                  26

generate fees;” “[t]he Funds lacked liquidity;” “UBS controlled

the secondary market for Fund shares;” “[t]he Funds were over-

concentrated in PR bonds;” “UBS PR allowed overconcentration in

customer accounts and did not have systems for monitoring customer

concentration in particular assets, including the Funds;” “[t]he

Funds’ use of leverage exacerbated investor losses;” and “UBS PR

ordered financial advisors to market and sell Fund shares.”              Id.

at pp. 18-19.     The insurers also contend that the disputed matters

directly address the 2012 SEC order and, significantly, that UBS

articulated the shared factual bases between the prior and disputed

matters before the court in Fernandez.        Id. at pp. 19-20.

           The Court agrees with the insurers that the disputed

matters all involve facts, circumstances, or situations underlying

the   prior     matters.    Consequently,     the   specific    litigation

exclusion precludes coverage of the disputed matters.

           1.     The   Specific   Litigation  Exclusion         Precludes
                  Coverage of the Disputed Matters

                  Because the policies are clear, the Court considers

the plain language of the provisions as written.           See AJC Int’l,

790 F.3d at 4.        UBS maintains that Puerto Rico law requires

insurance policies to be interpreted narrowly and “liberally in

favor of the insured.”      See Docket No. 123 at p. 3 (quoting López

& Medina Corp. v. Marsh USA, Inc., 667 F.3d 58, 65 (1st Cir.
      Case 3:15-cv-03099-FAB Document 172 Filed 02/01/18 Page 27 of 38



Civil No. 15-3099 (FAB)                                                     27

2012)).     A court should only apply such narrow construction,

however, when policy provisions are ambiguous.              AJC Int’l, 790

F.3d at 4. Neither party contends that the policies are ambiguous.

See Docket No. 123 at p. 12 (“UBS does not dispute[] that the

Specific Litigation [Exclusion] is ‘unambiguous.’”).            Accordingly,

“the parties are bound by [the policies’] clearly stated terms and

conditions, with no room for further debate.”               López & Medina

Corp., 667 F.3d at 64.

                  The   plain   language   of    the   specific    litigation

exclusion bars coverage for the disputed matters.              The exclusion

employs expansive language, denying coverage for “any Claim . . .

based on, arising out of, directly or indirectly resulting from,

in consequence of, or in any way involving [the prior matters] or

any   fact,    circumstance     or   situation    underlying      or   alleged

therein.”     (Docket No. 89, Ex. 23 at p. 30.)        The disputed matters

all involve facts, circumstances, or situations alleged within the

2012 SEC order or Union proceeding, and many of the disputed

matters directly name or indirectly result from the 2012 SEC order.

That the disputed matters may also involve other allegations

unrelated to the prior matters is inapposite.            Cf. Fed. Ins. Co.

v. Raytheon Co., 426 F.3d 491, 497 (1st Cir. 2005) (applying

Massachusetts law to an insurance exclusion and finding that

“substantial areas of non-overlap does not defeat the fact here
       Case 3:15-cv-03099-FAB Document 172 Filed 02/01/18 Page 28 of 38



Civil No. 15-3099 (FAB)                                                     28

that there is substantial overlap between the two complaints”).

The broad language of the bargained-for exclusion is also no reason

to deny enforcement of the unambiguous provision.            Cf. Clark Sch.

for Creative Learning, Inc. v. Phila. Indem. Ins. Co., 734 F.3d

51, 55-57 (1st Cir. 2013) (applying Massachusetts law and holding

that a clear policy exclusion must be given its “plain literal

definition” even if the provision is broad). 8

                  i.    Casasnovas Overlap

                        The Casasnovas allegations involve many of the

exact facts, circumstances, and situations underlying the prior

matters.     Both the Casasnovas and Union plaintiffs, as well as the

2012   SEC   order,    assert   that   UBS   held   conflicting    roles   and

concealed its conflicts of interest from the plaintiffs.                   See

Complaint, Casasnovas, No. 2014-0072, 2015 WL 5179147 (Docket

No. 1 at p. 6); Complaint, Union, No. 10-1141 (Docket No. 1 at

p. 3); Docket No. 89, Ex. 13 at p. 9.            The Casasnovas and Union



8 In Clark, the First Circuit Court of Appeals enforced an insurance exclusion
similar to the exclusion in this case. Clark, 734 F.3d at 55-57. The Clark
court applied Massachusetts law to evaluate a policy exclusion that barred
losses “based upon, arising out of, directly or indirectly resulting from or in
consequence of, or in any way involving any matter, fact, or circumstances
disclosed in connection with Note 8 of the Financial Statement.” Id. at 55.
Massachusetts law, like Puerto Rico law, requires insurance policy ambiguities
to be resolved in favor of the insured. See id. at 55 (citing Allmerica Fin.
Corp. v. Certain Underwriters at Lloyd’s, London, 449 Mass. 621, 628 (2007)
(“To the extent the policy language is ambiguous, any ambiguities must be
construed in favor of the insured.”)). The court, nonetheless, enforced the
contract, holding that the exclusion was “both clear and broad in its language”
and that the court “must apply” the “plain literal definition” of the catchall
phrase, “or in any way involving.” Id. at 55 & 57.
     Case 3:15-cv-03099-FAB Document 172 Filed 02/01/18 Page 29 of 38



Civil No. 15-3099 (FAB)                                                            29

plaintiffs both claim that UBS used the funds as a “dumping ground”

for PR bonds.   See Complaint, Casasnovas, No. 2014-0072, 2015 WL

5179147 (Docket No. 1 at p. 3); Complaint, Union, No. 10-1141

(Docket No. 1 at p. 21).    Like the Union plaintiffs, the Casasnovas

plaintiffs allege that UBS improperly concentrated the funds with

PR bonds.     See Complaint, Casasnovas, No. 2014-0072, 2015 WL

5179147 (Docket No. 1 at p. 3); Complaint, Union, No. 10-1141

(Docket No. 1 at p. 4).         The Casasnovas plaintiffs also maintain

that investors were “trapped due to the illiquidity of the market

created by the UBS Defendants,” as revealed in the 2012 SEC order.

See Casasnovas, No. 2014-0072, 2015 WL 5179147 (Docket No. 1 at

p. 5); Docket No. 89, Ex. 13 at p. 2.                  Finally, the Casasnovas

complaint   maintains    that    UBS    engaged    in    a    scheme   to    promote

customer demand for the funds, just as asserted in the 2012 SEC

order.   See Casasnovas, No. 2014-0072, 2015 WL 5179147 (Docket

No. 1 at p. 4); Docket No. 89, Ex. 13 at p. 5.

                ii.     Fernandez Overlap

                        The overlap between the factual allegations in

Fernández and the prior matters has been recognized by UBS and the

Fernández court.      See Amended Class Action Complaint, Fernández,

222 F. Supp. 3d 358 (Docket No. 68); Memorandum of Law of the UBS

Defendants,   Fernández,    222    F.   Supp.     3d    358   (Docket       No.   91);

Fernández, 222 F. Supp. 3d at 383.          In support of their motion to
     Case 3:15-cv-03099-FAB Document 172 Filed 02/01/18 Page 30 of 38



Civil No. 15-3099 (FAB)                                                    30

dismiss   in   Fernández,   UBS   argued    that   the    2012   SEC    order

“regard[ed] the same alleged misconduct” as the Fernández amended

complaint and that the Union lawsuit “ma[de] similar allegations”

to the Fernández action.    Memorandum of Law of the UBS Defendants,

Fernández, 222 F. Supp. 3d 358 (Docket No. 91 at pp. 15-17).             UBS

stated that “notably, the Complaint here mimics allegations in

[the Union] suit . . . sometimes word for word.”              Id. at p. 17

(emphasis added) (internal citations omitted).           The district court

agreed with UBS’s characterizations, finding that “the proceedings

themselves put plaintiffs on notice of their exact allegations

against the UBS Defendants.”         Id. (emphasis added) (internal

quotation marks omitted).     Upon review of the factual allegations

underlying Fernández, this Court agrees with UBS and the Fernández

court that extensive factual similarities exist between Fernández

and the prior matters.

                 iii. 2013 SEC Investigation Overlap

                      The 2013 SEC investigation involves facts,

circumstances, and situations underlying the 2012 SEC order.             See

Docket No. 89, Ex. 36. The 2013 SEC investigation expressly refers

to the 2012 SEC order.      Id. at p. 1.      The investigation asserts

that from at least 2010, UBS PR may have materially misrepresented

to its customers “the risks or suitability of investing in mutual

funds or [PR bonds].”    Id. at p. 2.      These allegations involve the
     Case 3:15-cv-03099-FAB Document 172 Filed 02/01/18 Page 31 of 38



Civil No. 15-3099 (FAB)                                                          31

circumstances    articulated       in    the    2012   SEC    order:     that   UBS

misrepresented the riskiness of the funds and PR bonds and failed

to disclose material information to customers pertaining to the

suitability of the funds and PR bonds as investments.                   See Docket

No. 89, Ex. 13 at pp. 2 & 4.

                       The subsequent 2015 SEC order also involves

facts,   circumstances,      and   situations      underlying     the    2012   SEC

order.     The 2015 SEC order addresses the solicitation of UBS PR

customers to purchase additional fund shares through non-purpose

lines of credit, accompanied by the fraudulent misrepresentation

of the risks of the investment strategy.               (Docket No. 89, Ex. 37

at pp. 2-3.)      The promotion of fund shares coupled with the

material    misrepresentation        regarding      the      riskiness    of    the

investment were circumstances discussed in the 2012 SEC order.

See Docket No. 89, Ex. 13 at pp. 4-5.            Additionally, both the 2012

and 2015 SEC orders state that UBS PR customers with low risk

tolerance were subjected to a larger risk than that to which they

would have otherwise been exposed.              See Docket No. 89, Ex. 13 at

p. 4; Docket No. 89, Ex. 37 at p. 4.

                 iv.   2015 FINRA Settlement Overlap

                       The    2015      FINRA   settlement     letter     involves

facts, circumstances, and situations underlying the prior matters.

See Docket No. 89, Ex. 40.         The FINRA settlement letter alludes to
       Case 3:15-cv-03099-FAB Document 172 Filed 02/01/18 Page 32 of 38



Civil No. 15-3099 (FAB)                                                                32

the 2012 SEC order and UBS’s misconduct alleged in the order as

“relevant disciplinary history.”                Id. at p. 2.          Like the Union

allegations, the settlement letter states that UBS PR failed to

ensure the suitability of customers’ transactions in the funds.

See id. at p. 2; Complaint, Union, No. 10-1141 (Docket No. 1 at

p. 5).       Both the settlement letter and the 2012 SEC order identify

that UBS did not respect customers’ risk objectives.                        See Docket

No.    89,    Ex.   13   at     p.   4;    Docket   No.   89,   Ex.    40    at   p.   2.

Additionally, the settlement letter and the Union complaint assert

that    the    funds     were    internally     leveraged,      which       exacerbated

customers’ vulnerability.                 See Docket No. 89, Ex. 40 at p. 3;

Complaint, Union, No. 10-1141 (Docket No. 1 at p. 6).                          Finally,

like the Union complaint, the settlement letter laments that UBS

customers needing to liquidate their investments were forced to

sell fund shares into an illiquid market at significant losses.

See Docket No. 89, Ex. 40 at pp. 5-6; Complaint, Union, No. 10-

1141 (Docket No. 1 at pp. 5-6).

                    v.     FINRA Arbitrations Overlap

                           The       FINRA     arbitrations       involve         facts,

circumstances, and situations that overlap with the prior matters.

The investors in the noticed FINRA arbitrations, like the Union

plaintiffs, allege that the funds were unsuitable investments.

See Docket No. 90, Exs. 13, 15-17, 22, 37-40, 49; Docket No. 91,
      Case 3:15-cv-03099-FAB Document 172 Filed 02/01/18 Page 33 of 38



Civil No. 15-3099 (FAB)                                                            33

Exs. 12-14, 24; Complaint, Union, No. 10-1141 (Docket No. 1 at

p. 5).      The claimants in the Union action and noticed FINRA

arbitrations claim that their investments were overconcentrated in

highly leveraged, illiquid fund shares of high-risk PR bonds.                     See

Docket No. 90, Exs. 13, 15-17, 22, 37-40, 49; Docket No. 91,

Exs. 12-14, 24; Complaint, Union, No. 10-1141 (Docket No. 1 at

pp. 4, 6, 21).          The noticed FINRA arbitrations, Union complaint,

and 2012 SEC order all assert that UBS controlled the secondary

market   for      the    funds    and   misled     investors    by    artificially

increasing     demand      and    creating   the      appearance     of   liquidity,

thereby amplifying the investors’ risk.                See Docket No. 89, Ex. 13

at pp. 2, 4-6; Docket No. 90, Exs. 13, 15-17, 22, 37-40, 49; Docket

No. 91, Exs. 12-14, 24; Complaint, Union, No. 10-1141 (Docket No. 1

at pp. 3, 23-25).          Many of the noticed FINRA arbitrations also

directly discuss the 2012 SEC order.               See Docket No. 90, Exs. 13,

15-16, 22, 40, 49; Docket No. 91, Exs. 12-14, 24.                  With respect to

the   additional        FINRA    proceedings,    it    is   undisputed     that   the

claimants    in    those    proceedings      “assert[]      claims   substantively

similar or identical to those asserted in the [noticed FINRA

arbitrations].”         (Docket No. 37 at p. 5.) 9



9 The Court need not evaluate the facts underlying the additional FINRA
proceedings because UBS stipulates that the allegations are “substantively
similar or identical” to those asserted in the noticed FINRA arbitrations.
(Docket No. 37 at p. 5.)
      Case 3:15-cv-03099-FAB Document 172 Filed 02/01/18 Page 34 of 38



Civil No. 15-3099 (FAB)                                                    34

            2.   UBS’s Counterarguments

                 Because UBS fails to identify competent evidence in

the record sufficient to create a genuine issue of material fact,

its counterarguments are unavailing.        See Tobin, 775 F.3d at 450-

51.

                 i.    Interpretation of “Claim”

                       The Court rejects UBS’s argument that “even

one covered claim in a complaint obligates Insurers to pay for its

defense.”    (Docket No. 123 at p. 1.)     UBS argues that the insurers

“have the burden of proving that every claim in every one of the

1,600-plus complaints comprising the Disputed Matters is subject

to one or more of those exclusions” to succeed on summary judgment.

Id. at p. 3.     UBS manipulates the word “claim,” however, to suit

its position.    The policies provide coverage for “claims,” defined

as “any civil proceeding[s] in a court of law or equity, or

arbitration[s]” or “any formal, civil, criminal, administrative,

or regulatory investigation[s] of an Insured.”            (Docket No. 89,

Ex. 23 at pp. 14 & 35.)      The policies do not afford coverage for

specific    issues,   allegations,    or   causes   of   action   within    a

complaint.

                       Puerto Rico law requires the Court to construe

the contract according to the terms “as set forth in the policy.”

See AJC Int’l, 790 F.3d at 4 (citing P.R. Laws Ann., tit 26,
      Case 3:15-cv-03099-FAB Document 172 Filed 02/01/18 Page 35 of 38



Civil No. 15-3099 (FAB)                                                   35

§ 101). The Court therefore interprets the word “claim” as defined

by   the   policies.    Cf.   Raytheon,    426   F.3d   at   497   (applying

comparable    Massachusetts   legal   standards    to   a    similar   policy

definition of “claim” and finding that “[a] claim for present

purposes is equivalent to a complaint”).           Indeed, UBS concedes

that the insurers’ interpretation of the policies’ definition of

“claim” is correct.     See Docket No. 123 at p. 4 (“This is true for

purposes of defining a ‘Claim’ under the Policy.”).

                       UBS nevertheless contends that it is entitled

to coverage for independent issues within an otherwise precluded

complaint because of the district court decision in W Holding Co.

v. AIG Ins. Co., No. 11-2271, 2014 WL 3378691 (D.P.R. July 9, 2014)

(Gelpi, J.) (hereinafter, “W Holding II”). In W Holding II, unlike

here, the parties debated the ambiguity of an insurance policy

exclusion and the court was required to “resolve any doubts in the

insured’s favor.”      Id. at *2 (citing W Holding Co. v. AIG Ins.,

748 F.3d 377, 385-86 (1st Cir. 2014) (hereinafter, “W Holding I”)).

The W Holding II policy was also narrower than the policies in

this case.   The policy in W Holding II contained a notice provision

that “require[d] the claims to be linked by ‘facts alleged.’”            Id.

at *4.     The court thus evaluated the facts alleged in the prior

matter to determine whether there was “substantial overlap” with

the “specific factual allegations” in the subsequent matters,
      Case 3:15-cv-03099-FAB Document 172 Filed 02/01/18 Page 36 of 38



Civil No. 15-3099 (FAB)                                                    36

finding     that    only    certain   subsequent       matters   sufficiently

overlapped.        Id. at *5.      The Court is unpersuaded by UBS’s

argument.      The factual overlap between the prior and disputed

matters   in   this   case     differs    from   the   insufficient   overlap

discussed in W Holding II, and the exclusion in this case is far

broader than the notice clause in W Holding II.

                           UBS’s efforts to disaggregate the disputed

matters belies its argument that the disputed matters are covered

within the policy period.          Only the 2013 SEC investigation and

approximately 14 of the FINRA arbitrations in the sample set were

made during the policy period. 10        The rest of the disputed matters,

including Casasnovas, Fernández, the 2014 FINRA investigation, and

approximately 70 of the 84 FINRA arbitrations provided in the

sample set, were initiated after the policy period expired. 11            The

latter disputed matters can only be considered within the policy

period if they are interrelated wrongful acts pursuant to the

interrelated claims provision.           (Docket No. 89, Ex. 23 at p. 17.)


10The policy period concluded on January 15, 2014. (Docket No. 89, Ex. 23 at
p. 2.)   The 2013 SEC investigation began in October 2013.   (Docket No. 89,
Ex. 36.) Approximately 14 FINRA arbitrations in the sample set were initiated
before January 15, 2014. (Docket No. 90, Exs. 13-17, 22, 24, 40, 46, 49-50;
Docket No. 91, Exs. 12-14.)

11 The Casanovas lawsuit and the 2014 FINRA investigation began in February
2014. Complaint, Casasnovas, No. 2014-0072, 2015 WL 5179147 (Docket No. 1);
Docket No. 89, Ex. 38. Fernández was filed in May 2014. Complaint, Fernández,
No. 14-3252 (Docket No. 2). Approximately 70 FINRA arbitrations of the sample
set were initiated after January 15, 2014. See Docket No. 89, Ex. 1 at pp. 26-
29.
     Case 3:15-cv-03099-FAB Document 172 Filed 02/01/18 Page 37 of 38



Civil No. 15-3099 (FAB)                                                      37

The policies’ interrelated claims provision provides, “All Claims

arising   from   Interrelated     Wrongful   Acts    shall    be   deemed    to

constitute a single Claim and shall be deemed to have been made at

the same time at which the earliest such Claim is made.”                    Id.

(emphasis added).      As the insurers note, “UBS cannot have it both

ways: the Interrelated Claims provision cannot both aggregate the

Disputed Matters to bring them into the 2013-14 Policy Period and

simultaneously    disaggregate     the   same    Disputed      Matters    into

thousands of claims to disconnect them from the Prior Matters” to

avoid exclusion.       (Docket No. 131 at p. 1.)             The same broad

construction of the policies necessary to bring the disputed

matters within coverage also requires the Court to find that the

disputed matters sufficiently overlap with the prior matters as to

be barred by the exclusion.

                 ii.    Duty to Defend Cases

                        The Court rejects UBS’s arguments based on

cases concerning “duty to defend” insurance policies because the

“duty to defend” is not at issue in this case.               UBS argues that

Puerto    Rico   law   requires   “insurers     to   establish     that     the

allegations of a complaint, read liberally and with all doubts

resolved in the insured’s favor, do not create even a ‘remote

possibility’ of coverage.”        Docket No. 123 at p. 3 (quoting W

Holding I, 748 F.3d at 384). UBS conflates the applicable standard
     Case 3:15-cv-03099-FAB Document 172 Filed 02/01/18 Page 38 of 38



Civil No. 15-3099 (FAB)                                                 38

for insurers’ duty to defend, however, with the law governing the

duty to indemnify.     See In re San Juan Dupont Plaza Hotel Fire

Litig., 45 F.3d 564, 569 (1st Cir. 1995) (remanding the case

because the court failed to “discuss the asserted distinctions

between the duty to indemnify and a duty to defend”); Travelers

Ins. Co. v. Waltham Indus. Labs. Corp., 883 F.2d 1092, 1100 (1st

Cir. 1989) (faulting a party for failing to distinguish between

the duty to defend and the duty to indemnify).               Because the

insurers do not assume UBS’s defense under any circumstances,

Docket No. 89, Ex. 23 at pp. 15-16, the Court need not consider

UBS’s “duty to defend” arguments.

V.   Conclusion

     For the reasons set forth above, the defendants’ motions for

summary   judgment   are   GRANTED   (Docket    Nos.   89   and   94)   and

plaintiffs’ action is DISMISSED WITH PREJUDICE.        Judgment shall be

entered accordingly.       Plaintiffs’ motion for summary judgment

(Docket No. 98) and all other pending motions are moot.

     IT IS SO ORDERED.

     San Juan, Puerto Rico, February 1, 2018.


                                       s/ Francisco A. Besosa
                                       FRANCISCO A. BESOSA
                                       UNITED STATES DISTRICT JUDGE
